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                  UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF MINNESOTA

 TWIN CITIES COUNSELING LLC,                 CASE NO.: 0:24-cv-01254-DWF-DJF
 individually and on behalf of all others
 similarly situated,

               Plaintiff(s),

 v.

 CHANGE HEALTHCARE INC.,

               Defendant.

         NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff, through

undersigned counsel, hereby gives notice that the above-styled action against Defendant

Change Healthcare, Inc. is voluntarily dismissed without prejudice.


Date: July 25, 2024                             /s/E. Michelle Drake
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